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 6    Attorneys for Defendant
      EDGAR RAFAEL NAVARRO CHAVOYA
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11     UNITED STATES OF AMERICA,                     Case No. 1:21-cr-00314-JLT-SKO
12                      Plaintiff,                   STIPULATION TO VACATE SENTENCING
                                                     HEARING AND STAY BRIEFING ON
13     vs.                                           MOTION TO WITHDRAW GUILTY PLEA;
                                                     ORDER
14     EDGAR RAFAEL NAVARRO
       CHAVOYA,
15
                       Defendant.
16
17           IT IS HEREBY STIPULATED by and between the parties through their respective
18    counsel, Assistant United States Attorney Joseph Barton, counsel for plaintiff, and Assistant
19    Federal Defender Erin Snider, counsel for Edgar Rafael Navarro Chavoya, that the Court may
20    vacate the sentencing hearing currently scheduled for April 7, 2025, and stay further briefing on
21    the pending motion to withdraw guilty plea pending the resolution of the government’s petition
22    for rehearing and/or rehearing en banc in United States v. Gomez, No. 23-435.
23           On September 3, 2024, Mr. Navarro Chavoya pled guilty to the Indictment, which
24    charges him with a violation of 8 U.S.C. § 1326(a) and (b)(2), and the Court set the matter for
25    sentencing on December 2, 2024, at 9:00 a.m. ECF #62. The Court later continued the sentencing
26    to April 7, 2025, pursuant to the parties’ stipulation. ECF #64, #66.
27           On March 3, 2025, Mr. Navarro Chavoya filed a motion to withdraw his guilty plea in
28    light of the Ninth Circuit Court of Appeal’s decision in United States v. Gomez, No. 23-435. ECF
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 1    #68. Mr. Navarro Chavoya noted in the memorandum in support of the motion that the
 2    government had filed a petition for rehearing and/or rehearing en banc in Gomez. Id. at 2 n.1.
 3             After further discussions, the parties now ask that the Court vacate the April 7, 2025
 4    sentencing hearing and stay further briefing on the motion to withdraw guilty plea pending the
 5    resolution of the government’s petition for rehearing and/or rehearing en banc. The parties are
 6    making this request with the intention of conserving time and resources for both the parties and
 7    the Court.
 8             IT IS SO STIPULATED.
 9                                                                   Respectfully submitted,
10
                                                                     PHILLIP A. TALBERT
11                                                                   United States Attorney
12
      Date: March 7, 2025                                            /s/ Joseph Barton
13                                                                   JOSEPH BARTON
                                                                     Assistant United States Attorney
14                                                                   Attorney for Plaintiff
15
                                                                     HEATHER E. WILLIAMS
16                                                                   Federal Defender
17    Date: March 7, 2025                                            /s/ Erin Snider
                                                                     ERIN SNIDER
18                                                                   Assistant Federal Defender
                                                                     Attorney for Defendant
19                                                                   EDGAR RAFAEL NAVARRO CHAVOYA
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       Navarro Chavoya – Stipulation to Vacate Sentencing Hearing       2
       and Stay Further Briefing on Motion to Withdraw Guilty Plea
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 1                                                                   ORDER
 2             IT IS SO ORDERED. The sentencing hearing currently scheduled for April 7, 2025, at
 3    9:00 a.m. is vacated. Further briefing on the pending motion to withdraw guilty plea is stayed
 4    pending resolution of the government’s petition for rehearing and/or rehearing en banc in United
 5    States v. Gomez, No. 23-435. The motion hearing currently scheduled for March 17, 2025, at
 6    9:00 a.m. is vacated.
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      IT IS SO ORDERED.
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 9        Dated:        March 10, 2025
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       Navarro Chavoya – Stipulation to Vacate Sentencing Hearing      3
       and Stay Further Briefing on Motion to Withdraw Guilty Plea
